          Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 1 of 6




                                Important Privacy Notice


Federal Rule of Civil Procedure 5.2 prohibits litigants in a non-habeas proceeding from
submitting documents that contain personal information. Unless the Court orders otherwise,
personal identifying information in Court filings must be limited as follows:

• Social security numbers, taxpayer-identification numbers, and financial account numbers
must include only the last four digits (e.g., xxx-xx-1234)

• Birth dates must include the year of birth only (e.g., xx/xx/2000)

• Names of persons under the age of 18 must be indicated by initials only (e.g., A.B.)

You are responsible for protecting the privacy of this information in your filings. If your
documents, including attachments, contain any information that does not comply with this rule,
please black out that information before sending your documents to the Court.
                 Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 2 of 6


  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF PENNSYLVANIA

  ___________________________________________
                ORLANDO A. ACOSTA v.
              : CIVIL ACTION :
  ___________________________________________

  ___________________________________________
       (In the space above enter the full name(s) of the plaintiff(s).)


                              - against -

  ________________________________________________________                               COMPLAINT
  ________________________________________________________                          Jury Trial: G Yes     G No
   IN THE UNITED STATES DISTRICT
  ________________________________________________________                                       (check one)
COURT     FOR THE EASTERN DISTRICT OF
 ________________________________________________________
PENNSYLVANIA GOVERNOR TOM WOLF
  & Kathy Boockvar the secretary of the
 ________________________________________________________

       state for the Commonwealth of
 ________________________________________________________

Pennsylvania       Pennsylvania Department of
 ________________________________________________________
       State Bureau of Elections et al.
 ________________________________________________________

  ________________________________________________________

  ________________________________________________________

  ________________________________________________________
  (In the space above enter the full name(s) of the defendant(s). If you
  cannot fit the names of all of the defendants in the space provided,
  please write “see attached” in the space above and attach an
  additional sheet of paper with the full list of names. The names
  listed in the above caption must be identical to those contained in
  Part I. Addresses should not be included here.)

  I.          Parties in this complaint:

  A.          List your name, address and telephone number. If you are presently in custody, include your identification
              number and the name and address of your current place of confinement. Do the same for any additional
              plaintiffs named. Attach additional sheets of paper as necessary.


  Plaintiff           Name                                      Mr. Orlando A. Acosta 5355
                                                      _________________________________________________________
                      Street Address                           Belfield Avenue Philadelphia
                                                      _________________________________________________________
                      County, City                             Pennsylvania ZIP code 19144
                                                      _________________________________________________________
                      State & Zip Code                _________________________________________________________
                      Telephone Number                _________________________________________________________


  Rev. 10/2009
            Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 3 of 6



B.       List all defendants. You should state the full name of the defendants, even if that defendant is a government
         agency, an organization, a corporation, or an individual. Include the address where each defendant can be
         served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
         Attach additional sheets of paper as necessary.

Defendant No. 1                                       Governor Tom Wolf
                                     Name ___________________________________________________________
                                                     508 main Capitol building
                                     Street Address ____________________________________________________
                                                   Harrisburg Pennsylvania zip
                                     County, City _____________________________________________________
                                                              code 17120
                                     State & Zip Code _________________________________________________


Defendant No. 2                                   Kathy Boockvar Secretary of State for
                                     Name ___________________________________________________________
                                     Street Addressthe  Commonwealth of Pennsylvania 302
                                                    ____________________________________________________
                                                   North building Harrisburg Pennsylvania
                                     County, City _____________________________________________________
                                                                   zip code 17120
                                     State & Zip Code _________________________________________________


Defendant No. 3                           Pennsylvania Department of State Bureau of Elections
                                     Name ___________________________________________________________
                                                     306 North Office Building, 401 North Street
                                     Street Address ____________________________________________________
                                                                  Harrisburg, PA 17120
                                     County, City _____________________________________________________
                                     State & Zip Code _________________________________________________


Defendant No. 4                      Name ___________________________________________________________
                                     Street Address ____________________________________________________
                                     County, City _____________________________________________________
                                     State & Zip Code _________________________________________________




II.      Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A.       What is the basis for federal court jurisdiction? (check all that apply)
         Q Federal Questions                   Q Diversity of Citizenship

B.       If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at
         issue?The  loss of my constitutional ability and civil rights to campaign
               ________________________________________________________________________________  to
              have a voice within the electoral process and to be able to exercise my
           _____________________________________________________________________________________

                 right to be a candidate in the electoral process many forms of my
           _____________________________________________________________________________________

                constitutional and civil rights have been violated by the state by the
Rev. 10/2009
              governor and even by Judge     -2-
                                                     Kenny by way of but not limited to only
              the Fourteenth Amendment Bullock v. Carter Williams v. Rhodes, 393
                U.S. 23 (1968) American Party of Texas v. White, 415 U.S. 767, 783
                        (1974). In Storer v. Brown, 415 U.S. 724, 738–40 (1974)
                           Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 4 of 6




            C.        If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                      Plaintiff(s) state(s) of citizenship ___________________________________________________________

                      Defendant(s) state(s) of citizenship _________________________________________________________

            III.      Statement of Claim:

            State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
            complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
            include further details such as the names of other persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets of paper as necessary.

            A.        Where did the events giving rise to your claim(s) occur? Within   the city and the county of
                                                                               ________________________________________
                                                               Philadelphia located in the state
            ____________________________________________________________________________________________                            of
                                                                                                  Pennsylvania
            B.        What date and approximate time did the events giving rise to your claim(s) occur? ___________________
                March of 2020 till now
            ____________________________________________________________________________________________
            ____________________________________________________________________________________________


  What
            C.        Facts: ________________________________________________________________________________
happened
 to you?           Judge Kearney’s footnote established that I needed “1000
            ____________________________________________________________________________________________
              signatures” which refers to the part of the Pennsylvania election
            ____________________________________________________________________________________________
                 code that states that the number of signatures for candidates
            ____________________________________________________________________________________________
              running in a primary title 25 sec. 2872 .1(12). The Supreme Court
            ____________________________________________________________________________________________
              ruled in Illinois State Board of Elections versus Socialist Workers
            ____________________________________________________________________________________________
             Party 440 US 173 1979 that States cannot require more signatures
            ____________________________________________________________________________________________
 Who did    for  a district office then for a statewide office. Pennsylvania requires
             ____________________________________________________________________________________________
  what?
              exactly 5000 signatures for independent candidates for statewide
             ____________________________________________________________________________________________
            office.  This is not in the election code, but it is a result of a settlement
             ____________________________________________________________________________________________
                  in the Constitution Party of Pennsylvania versus Cortes, e.d.,
             ____________________________________________________________________________________________
               5:12cv-2726). This case had no effect on the number of signatures
             ____________________________________________________________________________________________
   Was                                        for district offices.
             ____________________________________________________________________________________________
  anyone
   else
involved?   ____________________________________________________________________________________________
            ____________________________________________________________________________________________
            ____________________________________________________________________________________________
            ____________________________________________________________________________________________
             ____________________________________________________________________________________________
Who else
saw what     ____________________________________________________________________________________________
happened?
             ____________________________________________________________________________________________

            Rev. 10/2009                                            -3-
                      Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 5 of 6


          ____________________________________________________________________________________________


          IV.      Injuries:


          If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,
                 Theand
          you required loss  of my
                         received.     constitutional ability and civil rights to campaign
                                   ______________________________________________________________________
                  to have a voice within the electoral process and to be able to
          ____________________________________________________________________________________________
               exercise my right to be a candidate in the electoral process many
         ____________________________________________________________________________________________
               forms of my constitutional and civil rights have been violated by
         ____________________________________________________________________________________________
                        the state by the governor and even by Judge Kenny
         ____________________________________________________________________________________________
         Therefore the number of signatures needed for me, a number greater
         ____________________________________________________________________________________________
          than 5000, seems to be in conflict with the unanimous ruling of the
         US Supreme Court from 1979. The US District Court in Illinois put the
         ____________________________________________________________________________________________

          Libertarian and Green party statewide candidates and to US House
         ____________________________________________________________________________________________

           candidates on the ballot with no petition required at all due to the
         ____________________________________________________________________________________________

         COVID-19 crisis. Thus these mitigating circumstances of the virus did
         ____________________________________________________________________________________________

               not require petitions for candidates to be placed on a ballot.
          V.       Relief:
                Furthermore, in the County of Butler versus Thomas W. Wolf, due
       State what youto want
                         thethe
                              COVID-19,          theandpandemic
                                Court to do for you                    has impacted
                                                        the amount of monetary compensation,every
                                                                                            if any, youaspect     ofand
                                                                                                        are seeking,
       the basisAmerican         life. We are tasked with how to intervene in a manner
                  for such compensation.
                 that is effective and protects citizens rights and safety. We know
       ____________________________________________________________________________________________
                that outdoor events and gatherings of more than 250 people were
       ____________________________________________________________________________________________
                      prohibited ECF NOS. 48–5 48 -6. Pennsylvania saw its first
       ____________________________________________________________________________________________
                 positive cases of COVID-19 in the early days of March 2020 ECF
       ____________________________________________________________________________________________
                No.?37. On March 6, 2020 Governor Wolf signed a proclamation
       ____________________________________________________________________________________________
                    of disaster emergency to attempt to mitigate the spread of the
       ____________________________________________________________________________________________
                     virus ECF No 42-1. The governor's approach throughout the
       ____________________________________________________________________________________________
                     pandemic was to take an aggressive enforcement approach.
                    Pennsylvanians were cited for violating the stay at home and
       ____________________________________________________________________________________________

                business closures orders. EFC No.74,pp. 61-69; ECF No’s. 42-102,
       ____________________________________________________________________________________________

                48-7, 54-3). So Judge Kearney wants my volunteers to go out and
       ____________________________________________________________________________________________

                  get signatures breaking Governor Wolf’s orders? Furthermore,
       ____________________________________________________________________________________________

                     one might be tempted to conclude the draconian nature of a
       ____________________________________________________________________________________________

                   lockdown rendered a high bar indeed. Due to the nature of the
       ____________________________________________________________________________________________

                    coronavirus. During the month of February, as I stated in my
       ____________________________________________________________________________________________
               previous petition, I was planning my strategy for my independent
               grassroots campaign. I was reaching out to voters to help me with
                 my campaign, but everything was being shut down. Please don’t
                lose sight that I suffer from palsy asthma and other health issues.
Due to the fact that there’s no longer               Text away from me to be placed on the ballot to
have a Rev.
        effective
            10/2009     campaign I am requesting            - 4 - for financial relief in the form of $10
                                                  million dollars.
 CDC, the Secretary of Health for Pennsylvania, and other medical personnel recommended
                       Case 2:20-cv-05541-MAK Document 2 Filed 11/03/20 Page 6 of 6
that individuals like myself should stay indoors during the time that you wanted me out and
about collecting signatures. I did not attempt to have volunteers go out and collect petitions,
  because of unconstitutional policies set forth by Governor Wolf. All efforts were in vain in
btaining and verifying signatures for my petition to be placed on the ballot, greatly impactin
                                                           my effects.
           I declare under penalty of perjury that the foregoing is true and correct.


           Signed this _____ day of ______________________________________ , 20_____.




                                                                                     ORlando A: Acosta
                                                         Signature of Plaintiff _____________________________________
                                                                         Mr. Acosta 5355 Belfield Avenue
                                                         Mailing Address ________________________________________
                                                                   Philadelphia    Pennsylvania ZIP code 19144
                                                                        ________________________________________
                                                                           ________________________________________
                                                         Telephone Number +1  (484) 358-3923
                                                                          ______________________________________
                                                         Fax Number (if you have one) _____________________________
                                                         E-mail Address orlandoacosta979@gmail.com
                                                                        ________________________________________



           Note:     All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
                     provide their inmate numbers, present place of confinement, and address.


           For Prisoners:

                                                           29 day of ______________________,
           I declare under penalty of perjury that on this _____            October                      20 I am delivering
                                                                                                      20_____,
           this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the
           Eastern District of Pennsylvania.



                                                                                        ORlando A: Acosta
                                                            Signature of Plaintiff: _____________________________________
                                                                  Inmate Number _____________________________________




           Rev. 10/2009                                         -5-
